                                        UNITED STATES DISTRICT COURT
                                                        for the

                                             Eastern District of Wisconsin


JAMES HULCE,
                           Plaintiff,



                              v.                            Case No.     2020-CV-775

LUSTRE-CAL CORPORATION,
                        Defendant(s).



                                            APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        LUSTRE-CAL CORPORATION                                                                                                 .


Date:      June 16, 2022                                                       /s/ Joseph D. Kern
                                                                                   Attorney’s signature

                                                                    Joseph D. Kern – Bar No. 6306314
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             Case 2:20-cv-00775-PP Filed 06/16/22 Page 1 of 2 Document 39
                                      CERTIFICATE OF SERVICE

        I hereby certify that on June 16, 2022, I electronically filed the forgoing APPEARANCE OF

COUNSEL with the Clerk of the U.S. District Court, using the CM/ECF system reflecting service of to be

served upon all parties of record.

Date:      June 16, 2022                                              /s/ Joseph D. Kern
                                                                          Attorney’s signature

                                                              Joseph D. Kern – Bar No. 6306314
                                                                      Printed name and bar number




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             Case 2:20-cv-00775-PP Filed 06/16/22 Page 2 of 2 Document 39
